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    9
                              UNITED STATES DISTRICT COURT
   10                        CENTRAL DISTRICT OF CALIFORNIA
   11                              SOUTHERN DIVISION

   12   G & G CLOSED CIRCUIT EVENTS,                       Case No. 8:18-cv-01606-WDK-JC
        LLC,
   13                                                      PLAINTIFF’S MEMORANDUM OF
                     Plaintiff,                            POINTS AND AUTHORITIES IN
   14                                                      SUPPORT OF ITS APPLICATION
                                                           FOR DEFAULT JUDGMENT BY
   15
              vs.                                          THE COURT

   16   JOSE ANTONIO TRUJILLO, et al.,

   17                Defendants.
   18   TO THE HONORABLE COURT, THE DEFENDANTS AND TO THEIR
   19   ATTORNEYS OF RECORD:

   20          Plaintiff, G & G Closed Circuit Events, LLC, by and through its attorneys
   21
        of record, submits this Memorandum in Support of its Application for Default
   22

   23   Judgment against Defendants Jose Antonio Trujillo, individually and d/b/a La
   24   Rinconada Mexican Cuisine, and Tortilla Spoon Corporation, an unknown
   25
        business entity d/b/a La Rinconada Mexican Cuisine (hereinafter “Defendants”)
   26
   27   (hereinafter “Defendants”). For the reasons set forth herein, as well as the reasons
   28
                            PLAINTIFF’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT
                        OF PLAINTIFF’S APPLICATION FOR DEFAULT JUDGMENT BY THE COURT - Page 1
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    1
        set forth in Plaintiff’s Application for Default Judgment and supporting evidence,

    2   Plaintiff respectfully requests that its Application for Entry of Default Judgment be
    3
        granted.
    4

    5
        Dated: November 21, 2018            /s/ Thomas P. Riley
    6                                       LAW OFFICES OF THOMAS P. RILEY, P.C.
    7                                       By: Thomas P. Riley
                                            Attorneys for Plaintiff
    8                                       G & G Closed Circuit Events, LLC
    9

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                           PLAINTIFF’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT
                       OF PLAINTIFF’S APPLICATION FOR DEFAULT JUDGMENT BY THE COURT - Page 2
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   28
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                                    PLAINTIFF’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT
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                                          INTRODUCTION
    1

    2
               Plaintiff G & G Closed Circuit Events, LLC (hereinafter “Plaintiff”) is an

    3   international distributor of sports and entertainment programming. By contract,
    4
        Plaintiff purchased the domestic commercial exhibition rights to broadcast the
    5

    6   Gennady Golovkin v. Saul Alvarez IBF World Middleweight Championship Fight

    7   Program, telecast nationwide on Saturday, September 16, 2017 (hereinafter
    8
        referred to as the “Program”). Complaint ¶ 16 (Dkt. No. 1). Gagliardi Affidavit ¶ 3.
    9

   10   This Program included the main event (between Golovkin (a/k/a “GGG”) and

   11   Alvarez (a/k/a “Canelo”) along with undercard bouts, televised replay, and color
   12
        commentary, hereinafter collectively referred to as the “Program.” Id.; Gagliardi
   13

   14   Affidavit ¶ 7. Pursuant to the contract granting Plaintiff its distribution rights,

   15   Plaintiff entered into sub-licensing agreements with various commercial
   16
        establishments to permit the public exhibition of the Program. Complaint ¶ 17;
   17

   18   Gagliardi Affidavit ¶ 3. Without the authorization of Plaintiff, Defendants
   19   unlawfully intercepted and exhibited the Program at her commercial establishment,
   20
        La Rinconada Mexican Cuisine, located at 300 West 5th Street, Santa Ana,
   21

   22   California 92701. Complaint ¶ 19; Declaration of Affiants.
   23         The Program was observed being broadcast at Defendants’ establishment by
   24
        two investigators. See Declaration of Affiants. As detailed in the investigator
   25

   26   affidavits, the violation herein was particularly egregious. Plaintiff discusses the
   27

   28
                            PLAINTIFF’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT
                        OF PLAINTIFF’S APPLICATION FOR DEFAULT JUDGMENT BY THE COURT - Page 3
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    1
        specific factors present in this case, which include both a substantial cover charge

    2   and advertising, in the damages section below.
    3
                                       PROCEDURAL HISTORY
    4

    5          Plaintiff filed its Complaint against Defendants on September 10, 2018.

    6   (Dkt. No. 1). Defendants were served on October 9, 2018. (Dkt. Nos. 15-16). The
    7
        validity of service is addressed in Argument Section I, infra. Default was entered
    8

    9   against Defendants on November 2, 2018. (Dkt. No. 18). Plaintiff now seeks

   10   default judgment against Defendants.
   11
                                            ARGUMENT
   12

   13   I.     PLAINTIFF IS ENTITLED TO DEFAULT JUDGMENT AS THE
               NINTH CIRCUIT FACTORS OUTLINED IN EITEL v. McCOOL
   14          ARE SATISFIED.
   15
               The factors to be considered in ruling on an application for default judgment
   16

   17   are: (1) the possibility of prejudice to the plaintiff; (2) the merits of plaintiff's

   18   substantive claim; (3) the sufficiency of the complaint; (4) the sum of money at
   19
        stake in the action; (5) the possibility of a dispute concerning material facts; (6)
   20

   21   whether the default was due to excusable neglect; and (7) the policy favoring
   22   decisions on the merits. Eitel v. McCool, 782 F.2d 1470, 1471-72 (9th Cir. 1986).
   23
        “In applying this discretionary standard, default judgments are more often granted
   24

   25   than denied.” Philip Morris USA v. Castworld Prods., Inc., 219 F.R.D. 494, 498
   26   (C.D.Cal. 2003). Upon entry of default, all well-pleaded facts in the complaint are
   27

   28
                             PLAINTIFF’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT
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    1
        taken as true, save those related to the amount of damages. Fair Housing of Marin

    2   v. Combs, 285 F.3d 899, 906 (9th Cir. 2002).
    3
              With respect to prejudice, Plaintiff will be prejudiced if default is not
    4

    5   entered because it has sustained injury as a result of the actions of Defendants and

    6   without default judgment, Plaintiff will be left without a judicial resolution to its
    7
        claims and without other recourse for recovery. See ESET, LLC v. Bradshaw,
    8

    9   2011 WL 2680497, *2 (S.D.Cal. July 8, 2011) (“In this case, Plaintiff would

   10   suffer prejudice if the motion were denied; Plaintiff has no other recourse for
   11
        recovery. This factor therefore favors entry of default judgment.”).
   12

   13         The second and third Eitel factors “require that Plaintiff’s allegations state a

   14   claim upon which it may recover.” Adobe Systems Inc. v. Kern, 2009 WL
   15
        5218005, *3 (N.D.Cal. Nov. 24, 2009) (internal quotation omitted); ESET, LLC,
   16

   17   2011 WL 2680497 at *2. To prevail under 47 U.S.C. § 605 or 47 U.S.C. § 553,

   18   Plaintiff must demonstrate that it has a proprietary interest in the Program and that
   19
        Defendants unlawfully intercepted, received, published, divulged, displayed,
   20

   21   and/or exhibited the Program at La Rinconada Mexican Cuisine without the
   22   authorization of Plaintiff. See 47 U.S.C. § 605(a); 47 U.S.C. § 553(a). To prevail
   23
        on the conversion claim, Plaintiff must demonstrate ownership or right to
   24

   25   possession of property, wrongful disposition of the property right by Defendants,
   26   and damages. Tyrone Pac. Intern., Inc. v. MV Eurychili, 658 F.2d 664, 666 (9th
   27
        Cir. 1981).
   28
                            PLAINTIFF’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT
                        OF PLAINTIFF’S APPLICATION FOR DEFAULT JUDGMENT BY THE COURT - Page 5
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     1
                Plaintiff’s Complaint properly alleges the elements of the above causes of

     2   action and, therefore, the first two factors of the Eitel analysis are satisfied. See
     3
         Complaint, ¶¶ 15-24, 25-29, 30-33; see J & J Sports Productions, Inc. v.
     4

     5   Hernandez, 2011 WL 3319558, *4 (E.D.Cal. Aug. 1, 2011). Similarly, as all well-

     6   pled allegations of fact are taken as true, Plaintiff has also satisfied the fifth Eitel
     7
         factor. See Adobe Systems, 2009 WL 5218005 at *6, citing Fair Housing of Marin,
     8

     9   285 F.3d at 906. In J & J Sports Productions, Inc. v. Sanchez, 2011 WL 5041022

    10   (S.D.Cal. Oct. 24, 2011), the district court held that, “because Plaintiff has
    11
         sufficiently plead the claims asserted and offered a sworn affidavit from the
    12

    13   investigator who observed and documented Defendants' violation, dispute as to

    14   material facts is unlikely.” Id. at *2. Plaintiff submits the same evidence herein.
    15
         California district courts have routinely found similar allegations sufficient to state
    16

    17   a claim and have routinely granted default judgment based on similar allegations.

    18   E.g. J & J Sports Productions, Inc. v. Ramos, 2012 WL 4575338, *2 (S.D.Cal.
    19
         Oct. 2, 2012); Sanchez, 2011 WL 5041022 at *2; Hernandez, 2011 WL 3319558 at
    20

    21   *5; Joe Hand Promotions, Inc. v. Fierro, 2015 WL 351663, *2-3 (E.D.Cal. Jan.
    22   26, 2015).
    23
                While entry of default necessitates a finding of liability under both sections
    24

    25   605 and 553, Plaintiff only seeks liability and damages on its claim under 47
    26   U.S.C. § 605 (as well as its claim for conversion). While the Ninth Circuit has not
    27
         ruled on the specific application of sections 605 and 553, courts generally apply
    28
                             PLAINTIFF’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT
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     1
         section 605 to satellite violations and section 553 to cable violations. See J & J

     2   Sports Productions, Inc. v. Marcaida, 2011 WL 2149923, *2 (N.D.Cal. May 31,
     3
         2011). Due to Defendants’ failure to participate, Plaintiff cannot be certain of the
     4

     5   method of interception and requests that the Court award damages under 47 U.S.C.

     6   § 605. Fierro, 2015 WL 351663 at *2 (E.D.Cal. Jan. 26, 2015) (“Plaintiff should
     7
         not be prejudiced by defendant's failure to appear or defend itself in this action and
     8

     9   the court concludes, therefore, that statutory damages should be awarded under

    10   section 605.”); J & J Sports Productions Inc. v. Olivares, 2011 WL 587466, *2
    11
         (E.D.Cal. Feb 9, 2011 (“Having accepted the well pleaded allegations of the
    12

    13   complaint as true, Plaintiff is entitled to judgment based on Defendants' violation

    14   of 47 U.S.C. § 605.”).
    15
               In Marcaida, also a default judgment case, the district court held:
    16

    17         Plaintiff cannot determine the precise means Defendant used to
               receive the program unlawfully. . .. . . . Plaintiff has adequately
    18         pleaded facts in support of each of his claims. Taking these facts as
    19         true as the Court must, Plaintiff's claims have merit.
    20   2011 WL 2149923 at *2. Such a finding is also in keeping with the Ninth Circuit’s
    21
         observation that obtaining direct evidence of signal interception is difficult.
    22

    23   Directv, Inc. v. Webb, 545 F.3d 837, 844 (9th Cir. 2008) (“The law does not
    24   require direct evidence to support a factual finding. Circumstantial evidence may
    25
         be sufficiently persuasive. Signal piracy is by its very nature a surreptitious
    26
    27   venture and direct evidence may understandably be hard to come by.”).
    28
                             PLAINTIFF’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT
                         OF PLAINTIFF’S APPLICATION FOR DEFAULT JUDGMENT BY THE COURT - Page 7
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     1
               The above analysis establishes an unlawful interception and receipt of

     2   Plaintiff’s Program. To hold an individual defendant liable when there is a
     3
         corporate owner (as is the case herein), an additional layer of analysis is required.
     4

     5   Plaintiff must demonstrate that Defendant had “a right and ability to supervise the

     6   violations and . . . a strong financial interest in such activities.” J & J Sports
     7
         Productions, Inc. v. J.R.‘Z Neighborhood Sports Grille, Inc., 2010 WL 1838432,
     8

     9   *2 (D.S.C. Apr. 5, 2010); J & J Sports Productions, Inc. v. Mikhael, 2016 WL

    10   2984191, *2 (C.D.Cal. May 19, 2016).
    11
               At all times relevant hereto, Defendant Trujillo was an officer of Tortilla
    12

    13   Spoon Corporation, and was specifically identified on the California Department

    14   of Alcoholic Beverage Control license (No. 564730) issued for La Rinconada
    15
         Mexican Cuisine as an Officer and Stockholder of the corporation. Complaint ¶¶
    16

    17   7-8. In addition, Defendant had a right and ability to supervise the interception of

    18   this specific Program, had the obligation to supervise the activities of La
    19
         Rinconada Mexican Cuisine on September 16, 2017, specifically directed or
    20

    21   permitted the interception of this specific Program, Id. ¶ 23, and had a strong
    22   financial interest in the interception of this specific Program (which included
    23
         increased profits). Id. ¶¶ 9-14. These allegations are supported by public records.
    24

    25   See Riley Declaration Ex. 1, 2 (Statement of Information; Liquor License –
    26   identifying Defendant Trujillo as, inter alia, Chief Executive Officer, Director,
    27
         Chief Financial Officer, Secretary, and President of Tortilla Spoon Corporation).
    28
                             PLAINTIFF’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT
                         OF PLAINTIFF’S APPLICATION FOR DEFAULT JUDGMENT BY THE COURT - Page 8
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     1
         In fact, Defendant Trujillo is the sole individual identified as having either an

     2   officer or director position. See Id.
     3
                In Mikhael, 2016 WL 2984191 at *2, this Court found the individual
     4

     5   defendants liable (along with the corporate defendant) when they were members of

     6   the LLC (one was also the registered agent); see J & J Sports Productions, Inc. v.
     7
         Diaz De Leon, 2012 WL 79877, *2 (W.D.Ark. Jan. 11, 2012) (“Personal liability
     8

     9   against Defendant de Leon is appropriate in this case based upon the allegations of

    10   the Complaint, which states that upon information and belief, de Leon had
    11
         supervisory capacity and control over, and received a financial benefit from, the
    12

    13   activities occurring within El Coyote on May 1, 2010.”); Directv, Inc. v. Cibulka,

    14   2011 WL 3273058, *1 (M.D.Pa. July 29, 2011) (finding individual liability
    15
         because defendant was “the proprietor . . . [and]. . . ha[d] both the right and ability
    16

    17   to supervise the distribution of ‘NFL Sunday Ticket’ to patrons, as well as a

    18   financial interest in attracting patrons . . . through [its] distribution . . . .”); Joe
    19
         Hand Promotions, Inc. v. Upstate Recreation, 2015 WL 685461, *7 (D.S.C. Feb.
    20

    21   18, 2015).
    22          In Joe Hand Promotions, Inc. v. Tickle, 2016 WL 393797 (M.D.Pa. Feb 2,
    23
         2016), the court addressed the issue of individual liability and found the individual
    24

    25   defendant liable because:
    26          First, in his official capacity as well as in his capacity as a registrant
    27          on his establishment’s liquor license, Defendant . . . had the “right and
                ability to supervise” the piracy at issue as a matter of law. It is not
    28
                              PLAINTIFF’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT
                          OF PLAINTIFF’S APPLICATION FOR DEFAULT JUDGMENT BY THE COURT - Page 9
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     1
                necessary that Defendant violated the law himself or that he was
                present for the violation. Based on Defendant's official role at the
     2          establishment, he was responsible for the acts of his agents, his
     3
                bartenders and other staff, and it is enough to hold him vicariously
                liable to the extent that one of his employees committed the piracy at
     4          issue.
     5
         Id. at *13. Next, the Tickle Court concluded:
     6

     7          Defendant enjoyed “a direct financial interest in the violation.” That is
                to say, the enhanced profits earned from attracting patrons with a
     8          bootlegged program were directly related to the profits earned by
     9          Defendant's establishment, and by extension, Defendant himself
                would reap on a given night. That is a mere consequence of everyday
    10          business incentives. It is also why lawmakers have enacted anti-piracy
    11          legislation: absent such penalties necessary to curb the evident moral
                hazard of such commercial piracy, the establishment owner would
    12          collect an ill-gotten gain, while the program distributor would incur
    13          all the costs associated with production and transmission.

    14   Id. at *14.
    15
                As to the amount of money at stake, the amounts requested by Plaintiff for
    16

    17   its federal claim, $7,500 in statutory damages and $35,000 in “enhanced”

    18   statutory damages, are reasonable in that they are within the limits established by
    19
         the United States Congress pursuant to statute. See e.g. 47 U.S.C. §§
    20

    21   605(e)(C)(3)(i)(II) and (e)(3)(ii).1 Indeed, the amount of total damages requested
    22   under section 605 is substantially less than the total amount authorized by
    23
         Congress. See 47 U.S.C. § 605(e)(3)(C)(i)(II) and (e)(3)(C)(ii). The amount
    24

    25

    26   1
           While the term “enhanced” does not appear in 47 U.S.C. § 605(e)(3)(C)(ii), it is frequently
    27   used to differentiate between damages awarded under 47 U.S.C. § 605(e)(3)(C)(i) and (ii). See
         e.g. Fierro, 2015 WL 351663 at *3. Plaintiff utilizes the term herein.
    28
                              PLAINTIFF’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT
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     1
         Plaintiff seeks for its conversion count is simply the value of the property at the

     2   time of its conversion. Because Plaintiff is an aggrieved party under section 605,
     3
         Plaintiff is entitled to the damages permissible by statute, and thus this factor
     4

     5   weighs in favor of default judgment. See Sanchez, 2011 WL 5041022 at *2

     6   (holding that the “the sum of money at stake is not substantial” under similar
     7
         circumstances). In addition, because this Court has discretion to make a damages
     8

     9   award that it deems appropriate, even if this factor weighed against default

    10   judgment, it does not outweigh the other factors. J & J Sports Productions Inc. v.
    11
         Torres, 2011 WL 6749817 at *5 (E.D.Cal. Dec. 22, 2011).
    12

    13         Next, there is no evidence that the failure of Defendants to respond was due

    14   to excusable neglect. The Defendants were validly served – Defendant Trujillo was
    15
         personally served, and Defendant Tortilla Spoon Corporation was served via its
    16

    17   officer, Defendant Trujillo. See Proofs of Service (Dkt. Nos. 15-16); see

    18   Fed.R.Civ.P. 4(e)(2)(A); Fed.R.Civ.P. 4(h)(1)(B). A sworn proof of service
    19
         constitutes “prima facie evidence of valid service which can be overcome only by
    20

    21   strong and convincing evidence.” Securities & Exchange Comm’n v. Internet
    22   Solutions for Business, Inc., 509 F.3d 1161, 1166 (9th Cir. 2007) (emphasis
    23
         added). The failure of Defendants to respond despite being properly served
    24

    25   establishes that their default was not due to excusable neglect. Virgin Records
    26   America, Inc. v. Cantos, 2008 WL 2326306, *3 (S.D.Cal. June 3, 2008).
    27

    28
                             PLAINTIFF’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT
                         OF PLAINTIFF’S APPLICATION FOR DEFAULT JUDGMENT BY THE COURT - Page 11
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     1
               The only Eitel factor that weighs in favor of the Defendants is the last, the

     2   policy favoring decisions on the merits. Of course, this factor arguably always
     3
         weighs against the entry of default judgment. Moreover, “[a] Defendant's failure to
     4

     5   answer the plaintiff's complaint makes a decision on the merits impractical, if not

     6   impossible.” ESET, LLC, 2011 WL 2680497 at *3 (citation omitted). Finally, this
     7
         factor, standing alone, is not enough to preclude default judgment. Id. When all of
     8

     9   the Eitel factors are considered, default judgment is appropriate in this case.

    10   II.   PLAINTIFF IS ENTITLED TO STATUTORY DAMAGES AND
    11         ENHANCED DAMAGES AS PERMITTED UNDER THE UNITED
               STATES CODE.
    12

    13         Defendants’ default serves as an admission of Plaintiff’s well-pled

    14   allegations of fact with respect to liability. Danning v. Lavine, 572 F.2d 1386,
    15
         1388 (9th Cir. 978). Default, however, does not establish damages. Fair Housing
    16

    17   of Marin, 285 F.3d at 906. A party aggrieved under section 605 may, at its

    18   discretion, recover either actual or statutory damages. 47 U.S.C. § 605(e)(3)(C).
    19
         Plaintiff elects to recover statutory damages. Plaintiff requests statutory damages
    20

    21   pursuant to 47 U.S.C. § 605(e)(3)(C)(i)(II). The amount of statutory damages to
    22   which Plaintiff is entitled for each violation of this section shall be not less than
    23
         $1,000.00 nor more than $10,000.00. Id. Next, Plaintiff requests enhanced
    24

    25   damages pursuant to section 605(e)(3)(C)(ii). 47 U.S.C. § 605(e)(3)(C)(ii) permits
    26   this Court, in its discretion, to award up to $100,000.00 in additional damages
    27
         where “the violation was committed willfully and for the purposes of direct or
    28
                             PLAINTIFF’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT
                         OF PLAINTIFF’S APPLICATION FOR DEFAULT JUDGMENT BY THE COURT - Page 12
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     1
         indirect commercial advantage or private financial gain . . . .” 47 U.S.C. §

     2   605(e)(3)(C)(ii). Plaintiff requests $7,500 in statutory damages and $35,000 in
     3
         enhanced statutory damages, for a total award of $42,500.
     4

     5         A.     The Facts Of This Case Are Particularly Egregious.

     6         While Plaintiff’s damages request herein is higher than some recent
     7
         requests, the damages are justified in light of the serious nature of the violation.
     8

     9   Although Plaintiff maintains that there is no such thing as a “run of the mill”

    10   piracy case, even given this Court’s prior approach to damages, this case is
    11
         particularly egregious, and there can be no question that Defendants sought to
    12

    13   exploit Plaintiff’s protected rights for their own benefit.

    14         The Program was observed being broadcast at La Rinconada Mexican
    15
         Cuisine by two investigators. See Declaration of Affiants. First, Randy Cervantes
    16

    17   observed the main event between Golovkin and Alvarez. Id. (Cervantes at 1). Most

    18   notably, Mr. Cervantes paid a $20.00 cover charge. Id. In fact, the requirement of
    19
         the $20.00 cover charge was confirmed both by a poster on the front door of the
    20

    21   restaurant and by advertising. See Id. (Cervantes at 4, 6). Mario Galvez also
    22   viewed the Program (an undercard bout) at La Rinconada Mexican Cuisine. Id.
    23
         (Galvez at 1). Mr. Galvez also paid a $20.00 cover. Id. Mr. Galvez entered at 5:11
    24

    25   p.m., Id., and Mr. Cervantes entered at 8:42 p.m., Id. (Cervantes at 1), meaning
    26   there is a reasonable presumption that the cover charge was required during the
    27
         entirety of the Program. In other words, for several hours. Both investigators
    28
                             PLAINTIFF’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT
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     1
         estimated the capacity to be 100 or fewer, meaning the commercial fee for the

     2   broadcast was the minimum fee of $2,500. See Id.; Gagliardi Affidavit ¶ 8.
     3
               A cover charge and advertising are primary considerations of enhanced
     4

     5   statutory damages. J & J Sports Productions, Inc. v. Bongo's Sports Bar, Inc.,

     6   2011 WL 1496957, *2 (S.D.Tex. April 19, 2011) (noting cover charge in awarding
     7
         $50,000 enhancement); J & J Sports Productions, Inc. v. McCausland, 2012 WL
     8

     9   113786, *4 (S.D.Ind. Jan. 13, 2012) (noting absence of cover charge and

    10   advertising in awarding $10,000 in statutory damages and a $30,000
    11
         enhancement).
    12

    13         B.    Piracy Statutes Contemplate Specific And General Deterrence.

    14         A primary goal of piracy awards is deterrence, and the piracy statutes
    15
         contemplate both specific and general deterrence. Joe Hand Promotions, Inc. v.
    16

    17   Gamino, 2011 WL 66144, *4 (E.D.Cal. Jan. 10, 2011) (“the amount of damages

    18   awarded should be in an amount that is adequate to deter these Defendants and
    19
         others from committing similar acts in the future”) (emphasis added);
    20

    21   McCausland, 2012 WL 113786 at *4 (“the need to send a deterrent signal to
    22   Defendants and other would-be offenders is paramount”).
    23
               C.    Statutory Damages Under 47 U.S.C. § 605(e)(3)(C)(i)(II).
    24

    25         The Ninth Circuit has not established a formula for calculating damages
    26   under 47 U.S.C. § 605, and this Court has discretion in awarding such damages.
    27
         While some courts have looked to the licensing fee to determine an appropriate
    28
                             PLAINTIFF’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT
                         OF PLAINTIFF’S APPLICATION FOR DEFAULT JUDGMENT BY THE COURT - Page 14
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     1
         statutory damages award, this method undervalues the Program and fails to

     2   compensate Plaintiff adequately. See Kingvision Pay-Per-View, Ltd. v. Jasper
     3
         Grocery, 152 F.Supp.438, 442 (S.D.N.Y. 2001) (“a damage award based
     4

     5   exclusively on licensing fees would undercompensate the plaintiff because the

     6   availability of unauthorized access to the program reduces demand and depresses
     7
         the prices that [plaintiff] can charge for sublicenses”). In addition, a statutory
     8

     9   award on presumed actual losses also conflates two separate sections of 47 U.S.C.

    10   § 605(e)(3)(C). Statutory damages are awarded as an alternative to actual damages.
    11
         See 47 U.S.C. § 605(e)(3)(C)(i). The purpose of awarding statutory damages is that
    12

    13   actual damages are often difficult to prove. In F.W. Woolworth Co. v.

    14   Contemporary Arts, Inc., 344 U.S. 228 (1952), the Supreme Court discussed the
    15
         purposes of providing for statutory damages:
    16

    17         [A] rule of liability which merely takes away the profits from an
               infringement would offer little discouragement to infringers. It would
    18         fall short of an effective sanction for enforcement of the copyright
    19         policy. The statutory rule, formulated after long experience, not
               merely compels restitution of profit and reparation for injury but also
    20         is designed to discourage wrongful conduct. The discretion of the
    21         court is wide enough to permit a resort to statutory damages for such
               purposes. Even for uninjurious and unprofitable invasions of
    22         copyright the court may, if it deems it just, impose a liability within
    23         statutory limits to sanction and vindicate the statutory policy.
    24

    25

    26
    27

    28
                             PLAINTIFF’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT
                         OF PLAINTIFF’S APPLICATION FOR DEFAULT JUDGMENT BY THE COURT - Page 15
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     1
         Id. at 233 (emphasis added).2 Ultimately, an award of statutory damages based on

     2   a presumed actual loss, i.e., the commercial licensing fee, negates the purpose of
     3
         having two separate types of damages available.
     4

     5          The commercial licensing fee herein was $2,500. Gagliardi Affidavit ¶ 8. In

     6   keeping with the above, Plaintiff requests $7,500 in statutory damages, which is
     7
         3x the commercial licensing fee. J & J Sports Productions, Inc. v. Tonita
     8

     9   Restaurant, LLC, 2015 WL 9462975, *5, n.8 (E.D.Ky. Dec. 28, 2015) (awarding

    10   $6,600 in statutory damages, 3x the licensing fee, and holding that “a treble
    11
         award, as Plaintiff suggests, [is] appropriate here. Unlawful access must cost a
    12

    13   violator more than face ticket price”).

    14          D.     Enhanced Damages Under 47 U.S.C. § 605(e)(3)(C)(ii).
    15
                The fact that Defendants acted willfully and for financial gain is established
    16

    17   by various factors, including the cover charge and advertising. Indeed, the cover

    18   charge and advertising alone is sufficient to establish Plaintiff’s entitlement to
    19
         enhanced statutory damages. Nonetheless, this is also established by case law:
    20

    21          The defendant restaurant is a commercial establishment, and on the
                night of the Exhibition hosted approximately forty patrons, who were
    22          able to enjoy the Exhibition at no cost to the defendant restaurant. . . .
    23          Because the defendant showed the Exhibition on all of its televisions
                at no cost, the Court concludes that the defendant acted willfully for
    24          commercial advantage and private financial gain.
    25

    26
         2
    27     This was a Copyright Act case. As with 47 U.S.C. § 605, a violation of the Copyright Act may
         result in either actual damages or statutory damages. See 17 U.S.C. § 504(a).
    28
                              PLAINTIFF’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT
                          OF PLAINTIFF’S APPLICATION FOR DEFAULT JUDGMENT BY THE COURT - Page 16
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     1
         Joe Hand Promotions, Inc. v. Wing Spot Chicken & Waffles, Inc., 920 F.Supp.2d

     2   659, 668-69 (E.D.Va. 2013); see also Marcaida, 2011 WL 2149923 at *4. The
     3
         Ninth Circuit case of Ellison v. Robertson, 357 F.3d 1072 (9th Cir. 2004), while
     4

     5   addressing a different legal issue (i.e., vicarious copyright liability), is instructive

     6   with respect to financial gain. In Ellison, the Ninth Circuit clarified an earlier
     7
         decision and held:
     8

     9         We concluded in [Fonovisa, Inc. v. Cherry Auction, Inc., 76 F.3d 259
               (9th Cir. 1996)] that “the sale of pirated recordings at the Cherry
    10         Auction swap meet is a ‘draw’ for customers,” which we held
    11         sufficient to state the financial benefit element of the claim for
               vicarious liability. Fonovisa, 76 F.3d at 263–64. There is no
    12         requirement that the draw be “substantial.”
    13
         Ellison, 357 F.3d at 1078-79 (citation / quotation in original). Ellison indicates
    14

    15   that the availability of the infringing material is a draw sufficient to establish

    16   financial gain.
    17
               The fact that Defendants acted willfully and for the purpose of financial
    18
    19   gain is also established by the testimony of Mr. Gagliardi, Gagliardi Affidavit ¶¶
    20   9, 14-17, and by the default of Defendants. Joe Hand Promotions, Inc. v. Sorondo,
    21
         2011 WL 4048786, *3 (E.D.Cal. Sept. 9, 2011) (“By default, Defendants admitted
    22

    23   to willfully violating Section 605 for the purposes of commercial advantage”); J &
    24   J Sports Productions, Inc. v. Tilakamonkul, 2011 WL 2414550, *4 (E.D. Cal. June
    25
         10, 2011) (“By his default, Defendant has admitted to willfully violating the
    26
    27   referenced statutes for purposes of commercial advantage.’).
    28
                               PLAINTIFF’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT
                           OF PLAINTIFF’S APPLICATION FOR DEFAULT JUDGMENT BY THE COURT - Page 17
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     1
               With respect to enhanced statutory damages, this Court has previously cited

     2   to other federal statutes and “determined that the proper measure of punitive
     3
         damages based on willfulness is an amount equal to a multiple of actual damages.”
     4

     5   E.g. J & J Sports Productions, Inc. v. Lim, Case No. 13-cv-08949, Dkt. No. 30 at

     6   5, n.1 (C.D.Cal. Sept. 28, 2015) (citations omitted). While 47 U.S.C. § 605 does
     7
         not mention a specific enhanced damages multiplier, there is an inference of up to
     8

     9   a 10x multiplier. See 47 U.S.C. § 605(e)(3)(c)(i)(II) and (c)(ii) (permitting

    10   statutory damages up to $10,000 and enhanced damages up to $100,000).
    11
               In a 2017 case, this Court determined that 8x the statutory damages was an
    12

    13   appropriate measure of enhanced statutory damages. See J & J Sports Productions,

    14   Inc. v. Morris, Case No. 14-cv-3266 (C.D.Cal. Feb. 16, 2017, Dkt. No. 69 at *2).
    15
         Based on Plaintiff’s requested statutory damages of $7,500, the resulting enhanced
    16

    17   damages award utilizing an 8x multiplier would be $60,000. Plaintiff recognizes,

    18   however, that in Morris the Court awarded only the licensing fee itself as statutory
    19
         damages. Id. at *1. As such, Plaintiff requests that the Court start with the calculus
    20

    21   in Morris and award 8x the licensing fee as enhanced statutory damages, resulting
    22   in a base line enhanced statutory damages award of $20,000. In light of the $20.00
    23
         cover charge and advertising, that amount should then be increased by an
    24

    25   additional $15,000, making the total enhanced statutory damages award $35,000.
    26         Finally the damages requested by Plaintiff comport with the suggestion of
    27
         the Ninth Circuit. In Kingvision Pay-Per-View Ltd. v. Lake Alice Bar, 168 F.3d
    28
                            PLAINTIFF’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT
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     1
         347 (9th Cir. 1999), the Ninth Circuit noted that “[t]he range in the statutory award

     2   might allow for a sanction that deters but does not destroy.” Id. at 350. In Lake
     3
         Alice Bar, the district court originally awarded $80,400 on default judgment. Id. at
     4

     5   349. At a hearing on a later motion to vacate the default judgment, the district court

     6   granted the defendant an opportunity to make an oral motion to reduce the award.
     7
         Id. at 350. After the oral motion, the district court reduced the award to $4,000. Id.
     8

     9   On appeal, the Ninth Circuit found this reduction procedurally improper and

    10   remanded so that both parties could be heard on the issue of damages. Id. In the
    11
         course of entering its opinion, the Ninth Circuit stated that “[d]epending on the
    12

    13   circumstances, a low five figure judgment may be a stiff fine that deters, while a

    14   high five figure judgment puts a bar out of business.” Id. at 350 (emphasis added).
    15
         Plaintiff requests a low five-figure judgment. While Lake Alice Bar is not
    16

    17   controlling on the issue of damages, it does provide guidance.

    18   III.   PLAINTIFF IS ENTITLED TO DAMAGES FOR CONVERSION.
    19
                Damages for conversion are based on the value of the property at the time of
    20

    21   the conversion. Cal.Civ.Code § 3336. In this case, Plaintiff requests $2,500.00 in
    22   conversion damages (the amount Defendants would have had to pay to broadcast
    23
         the Program lawfully). Gagliardi Affidavit ¶ 8. California district courts have
    24

    25   frequently granted conversion damages in addition to statutory damages. J & J
    26   Sports Productions, Inc. v. Paolilli, 2011 WL 6211905, *4 (E.D.Cal., Dec. 14,
    27
         2011) (awarding $6,200 in conversion damages in addition to $10,000 in statutory
    28
                            PLAINTIFF’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT
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     1
         damages and $30,000 in enhanced damages); Sanchez, 2011 WL 5041022 at *3.

     2   Plaintiff recognizes that this Court generally does not make an additional
     3
         conversion damages award.
     4

     5   IV.   PLAINTIFF IS ENTITLED TO COSTS AND REASONABLE
               ATTORNEYS’ FEES.
     6

     7         47 U.S.C. § 605 mandates an award of costs and attorneys’ fees to an

     8   aggrieved party. Specifically, the section states that the Court, “shall direct the
     9
         recovery of full costs, including awarding reasonable attorneys' fees to an
    10

    11   aggrieved party who prevails.” 47 U.S.C. § 605(e)(3)(B)(iii) (emphasis added).

    12   Pursuant to C.D.Cal. L-R 55-3, Plaintiff requests $3,150.00 in attorneys’ fees and
    13
         requests that it be granted 14 days from the entry of judgment to submit its Motion
    14

    15   for costs.

    16                                         CONCLUSION
    17
               Based on the foregoing, default judgment against Defendants and in favor of
    18
    19   Plaintiff is proper and should be entered with respect to Plaintiff’s claims under 47
    20   U.S.C. § 605 and Plaintiff’s claim for conversion in the amounts requested herein.
    21

    22

    23   Dated: November 21, 2018             /s/ Thomas P. Riley
                                              LAW OFFICES OF THOMAS P. RILEY, P.C.
    24                                        By: Thomas P. Riley
    25                                        Attorneys for Plaintiff
                                              G & G Closed Circuit Events, LLC
    26
    27

    28
                             PLAINTIFF’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT
                         OF PLAINTIFF’S APPLICATION FOR DEFAULT JUDGMENT BY THE COURT - Page 20
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     1
                                          PROOF OF SERVICE

     2         I declare that:
     3
                I am employed in the County of Los Angeles, California. I am over the age
     4   of eighteen years and not a party to the within cause; my business address is First
     5   Library Square, 1114 Fremont Avenue, South Pasadena, California 91030. I am
         readily familiar with this law firm’s practice for collection and processing of
     6   correspondence/documents for mail in the ordinary course of business.
     7         On November 21, 2018, I caused to serve the following document entitled:
     8
               PLAINTIFF’S MEMORANDUM OF POINTS AND AUTHORITIES
     9         IN SUPPORT OF PLAINTIFF’S APPLICATION FOR DEFAULT
               JUDGMENT BY THE COURT
    10

    11   On all parties referenced by enclosing a true copy thereof in a sealed envelope
         with postage prepaid and following ordinary business practices, said envelope was
    12
         addressed to:
    13
               Jose Antonio Trujillo (Defendant)
    14
               300 W. 5th St.
    15         Santa Ana, CA 92701
    16
               Tortilla Spoon Corporation (Defendant)
    17         300 W. 5th St.
               Santa Ana, CA 92701
    18
    19          The fully sealed envelope with pre-paid postage was thereafter placed in our
         law firm’s outbound mail receptacle in order that this particular piece of mail
    20
         could be taken to the United States Post Office in South Pasadena, California later
    21   this day by myself (or by another administrative assistant duly employed by our
         law firm).
    22

    23          I declare under the penalty of perjury pursuant to the laws of the United
         States that the foregoing is true and correct and that this declaration was executed
    24
         on November 21, 2018, at South Pasadena, California.
    25

    26   Dated: November 21, 2018                    /s/ Janine Norris
                                                     JANINE NORRIS
    27

    28
                            PLAINTIFF’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT
                        OF PLAINTIFF’S APPLICATION FOR DEFAULT JUDGMENT BY THE COURT - Page 21
